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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        HAWKS HILL RANCH, LLC, et al.,
                                   7                                                       Case No. 22-cv-01567-MMC
                                                        Plaintiffs,
                                   8
                                                  v.                                       ORDER SETTING INITIAL CASE
                                   9                                                       MANAGEMENT CONFERENCE
                                        WILLIAM YARAK, et al.,                             AND ADR DEADLINES
                                  10
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             IT IS HEREBY ORDERED that this action is assigned to the Honorable Maxine M.

                                  14   Chesney. When serving the complaint or notice of removal, the plaintiff or removing defendant

                                  15   must serve on all other parties a copy of this order and all other documents specified in Civil Local

                                  16   Rule 4-2. Counsel must comply with the case schedule listed below unless the Court otherwise

                                  17   orders.

                                  18             IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  19   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  20   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  21   Procedures in the Northern District of California” on the Court’s ADR webpage at

                                  22   www.cand.uscourts.gov/adr. A limited number of printed copies are available from the Clerk’s

                                  23   Office.

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                                   1                         CASE SCHEDULE – ADR MULTI-OPTION PROGRAM

                                   2    Date                       Event                                                           Governing Rule

                                   3    3/13/2022                  Complaint Filed

                                   4    5/27/2022                  *Last day to:                                                   F.R. Civ. P. 26(f) &
                                                                   • meet and confer re: initial disclosures, early                ADR L.R.3-5
                                   5                               settlement, ADR process selection, and discovery
                                                                   plan
                                   6

                                   7                               • file ADR Certification signed by Parties and                  Civil L.R . 16-8(b) &
                                                                   Counsel (available at www.cand.uscourts.gov)                    ADR L.R. 3-5(b)
                                   8

                                   9    6/10/2022                  **Last day to file Rule 26(f) Report, complete                  FRCivP 26(a) (1)
                                                                   initial disclosures or state objection in Rule 26(f)            Civil L.R . 16-9
                                  10                               Report and file Case Management Statement per
                                                                   Standing Order re Contents of Joint Case
                                  11                               Management Statement (available at
                                  12                               www.cand.uscourts.gov)
Northern District of California
 United States District Court




                                  13    6/17/2022                  INITIAL CASE MANAGEMENT                                         Civil L.R . 16-10
                                                                   CONFERENCE (CMC) at 10:30 AM in:
                                  14
                                                                   Courtroom 7, 19th Floor
                                  15                               Phillip Burton Federal Building
                                                                   450 Golden Gate Avenue
                                  16                               San Francisco, CA 94102

                                  17
                                       * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                  18   days in advance of the Initial Case Management Conference.

                                  19   ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                       days in advance of the Initial Case Management Conference.
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